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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 23-80309-CIV-SMITH

SHANNEN DUGGAN,

               Plaintiff,
       v.

ACCOUNT RESOLUTION
SERVICES, et al.,

               Defendants.
                                                /

             NOTICE OF COURT PRACTICE ON NOTICE OF SETTLEMENT

         This matter is before the Court on Plaintiff and Healthcare Revenue Recovery Group, LLC

 d/b/a/ ARS Account Resolution Services [DE 11], indicating that Plaintiff’s claims, against Account

 Resolution Services, have been settled in full. Upon consideration, it is hereby

         ORDERED that

       (1) Plaintiff and Account Resolution Services shall file their Joint Stipulation of Dismissal

as to claims against Account Resolution Services, in accordance with Federal Rule of Civil

Procedure 41 on or before June 19, 2023. Failure to comply with this Order may result in the final

dismissal of this case.

        (2) Each party shall bear its own attorney’s fees and cost.

        (3) All pending motions are denied as moot.

        (4) This case is CLOSED.

         DONE and ORDERED in Fort Lauderdale, Florida, this 4th day of May 2023.




 cc:    Counsel of Record
